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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JERED EDWARDS, on behalf                      )
of himself and all others similarly situated, )
                                              )
               Plaintiff,                     )
                                              )       Civil Action No. 20-cv-01723
               v.                             )
                                              )
HEALTHCARE REVENUE RECOVERY )                         Hon. Mary Rowland
GROUP, LLC,                                   )
                                              )
               Defendant.                     )


   PLAINTIFF’S REPLY TO DEFENDANT’S RESPONSE TO MOTION TO STRIKE
   PORTIONS OF DEFENDANT HEALTHCARE REVENUE RECOVERY GROUP,
               LLC’S ANSWER AND AFFIRMATIVE DEFENSES

       Plaintiff, Jered Edwards, by and through his attorneys, The Law Office of M. Kris

Kasalo, Ltd, respectfully states as follows for his reply to Defendant’s response to Plaintiff’s

Fed. R. Civ. P. 12(f) motion to strike portions of Defendant’s Answer and Affirmative Defenses:

       1.      Defendant has filed a response to Plaintiff’s Motion that concedes that its Second,

Fourth, Fifth and Sixth Affirmative Defenses should be stricken, but also argues that its Third

Affirmative Defense and its request for attorney fees be allowed to remain [30]. For the reasons

below, Defendant’s argument that its Third Affirmative Defense and its request for attorney fees

be allowed to remain is without merit, necessitating that Plaintiff’s Motion be granted in toto.

   Defendant’s Second Affirmative Defense, Bona Fide Error, Should Be Stricken As It
   Fails to Plead the Circumstances of the “Mistake” With Particularity, In Violation of
   Fed.R.Civ.P. 9(b)

       2.      Defendant “HRRG concedes that numerous courts in the Seventh Circuit have

held the affirmative defense of “bona fide error” to alleged FDCPA violations is subject to the

pleading standards associated with “mistake” in Rule 9(b) of the Federal Rules of Civil

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Procedure.” [30 at 4]. Defendant thus seeks leave to replead its defense to comport with

Fed.R.Civ.P. 9(b). Id.

       3.      Both parties are thus in agreement: this defense should therefore be stricken, and

Defendant given leave to replead the defense with particularity as required, as required by

Fed.R.Civ.P. 9(b), and as found in the cases of Beigl v. Northwest Collectors, Inc., 2012 U.S.

Dist. LEXIS 28675 at *2 (N.D. Ill. Mar. 5, 2012), Lowe et al v. Diversified Consultants, Inc.,

2012 U.S. Dist. Lexis 123650 at *2-3 (August 30, 2012), and Konewko v. Dickler, Kahn,

Slowikowsi & Zavell, Ltd., 2008 U.S. Dist. LEXIS 40685 at *2-3 (May 14, 2008).

Defendant’s Third Defense, that the Violations Alleged Were Not “Material”, Should be
Stricken as the Seventh Circuit Defines “Materiality” as an Element of an FDCPA Claim,
and Not as an Affirmative Defense

       4.      Defendant states as follows for its Third Affirmative Defense:

To the extent HRRG has made any misrepresentation, it was not a material false or misleading
statement; therefore Plaintiff’s alleged claim is not actionable under the FDCPA. Hahn v.
Triumph Partnerships, LLC, 557 F. 3d 755 (7th Cir. 2009); Donohue v. Quick Collect, Inc., 592
F. 3d 1027 (9th Cir. 2010). [23 at 12].

       5.      The Third Defense should be stricken because it is not properly pleaded as an

affirmative defense. “An affirmative defense is one that admits the allegations in the complaint,

but avoids liability, in whole or in part, by new allegations of excuse, justification or other

negating matters.” Riemer v. Chase Bank USA, N.A., 274 F.R.D. 637, 639 (N.D. Ill. 2011).

However, when a defendant attacks the plaintiff's prima facie case, it is a "negative defense,"

which is distinct from an affirmative defense. Id.

       6.      As held in the very case to which Defendant cites to support its defense, Hahn,

“Materiality is an ordinary element of any federal claim based on a false or misleading

statement.). Hahn, 557 F.3d. at 757 (emphasis added); Gritters v. Ocwen Loan Servicing, LLC,

2018 U.S. Dist. LEXIS 63010, at *23 (N.D. Ill. Apr. 13, 2018).

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        7.      Here, Defendant’s Third Defense thus alleges that Plaintiff cannot establish

materiality. This “defense” is a direct attack on the allegations made in Plaintiff’s complaint that

are an element of his claim. As such, it is a negative defense, and is not appropriately pleaded as

an affirmative defense. The Third Defense should thus also be stricken. See Escobedo v. Oswego

Junction Enters, LLC, No. 17-cv-0682, 2017 U.S. Dist. LEXIS 115366, at *10-11 (N.D. Ill. July

24, 2017).

        8.      Defendant does not seek to differentiate the 7th Circuit case of Hahn in its

response to in any way argue that materiality is not an element of Plaintiff’s claim. It is. Rather,

Defendant cites to an out-of-circuit, district court case of Polk v. Legal Recovery Law Offices,

291 F.R.D. 485, 492 (S.D. Cal. 2013) to support that materiality is a defense. However, it is 7 th

Circuit caselaw that is controlling here, and Hahn could not have been clearer that materiality is

an element of the claim, and thus not a defense.

        9.      Further, even if Polk is followed over Hahn, in Polk the Court nonetheless

granted the Plaintiff’s Motion to Strike the “defense” of materiality for the reason that it “. . .also

agrees with the Plaintiffs that the defense is not pled with sufficient detail to give fair notice”,

and thus it struck the defense with leave to replead. Id.

        10.     Here, Defendant gives no more detail as to the “materiality” defense than the

defendant in Polk, which asserted “if any false representations occurred, which is denied, that

any false representations were non-material and not actionable under the FDCPA.” Id.

        11.     Thus, even if Polk were to be followed, the “affirmative defense” of materiality

should be stricken.




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Defendant’s Fourth, Fifth and Sixth Affirmative Defense Should Be Stricken as Defendant
Withdraws the Same


       12.     In its Response, Defendant asserts:

In addition to statutory damages, Plaintiff prayed for “other or further relief.” Docket entry #1,
pg. 10. In its motion to strike, Plaintiff stipulates that he “asserts only statutory damages in this
case.” Docket entry ¶ 22 (emphasis in the original). In light of that stipulation, HRRG would be
willing to stipulate to a withdrawal of its Fourth, Fifth, and Sixth Affirmative Defenses without
prejudice.

[30 at 2, Footnote 2, emphasis added].

       13.     Though Defendant asserts that it now agrees to dismiss its Fourth, Fifth and

Sixth defenses because Plaintiff “stipulates” that he asserts only statutory damages in this case,

Defendant’s argument that its withdrawal is in response to a “stipulation” made by Plaintiff is a

spurious one: Plaintiff’s complaint only seeks statutory damages, and Plaintiff only reiterated

this already-evident fact in its Motion to Strike as a basis for striking Defendant’s purported

defenses, and not as a “stipulation”. In other words, Plaintiff argues that the Fourth, Fifth and

Sixth defenses were improper ab initio—his “stipulation” notwithstanding.

       14.     Defendant’s Fourth, Fifth and Sixth defenses, which it recognizes as being

improper, should thus be stricken.

Defendant’s Request for Attorney Fees Should Be Stricken, as it Requires a Bad Faith
Finding by this Court, Though No Facts Have Been Plead by Defendant to Support that
Plaintiff filed his Complaint in Bad Faith

       15.     Defendant has requested that the Court impose attorney fees against the Plaintiff,

without identifying a basis, statutory or otherwise, for its request. [23 at 13].

       16.     “The FDCPA allows the court to award fees to a prevailing defendant if the court

finds that the “action . . . was brought in bad faith and for the purpose of harassment.”

Rossi v. Kohn Law Firm S.C., No. 19-cv-192-jdp, 2020 U.S. Dist. LEXIS 199479, at *2 (W.D.

Wis. Oct. 27, 2020).
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       17.     Nowhere in its Answer does Defendant assert any facts that could support that

Plaintiff brough this action in bad faith and for the purpose of harassment. [23].

       18.     Had Defendant made such an assertion, it would have been required to provide

a basis for the claim in its Answer. Polk, 291 F.R.D. 492-493 (stating “In their nineteenth

affirmative defense, Defendants allege that this suit “was brought in bad faith and is completely

without merit.” Defendants provide no basis for this claim in their answers. Accordingly, the

Court STRIKES Defendants' nineteenth affirmative defense WITH LEAVE TO AMEND.”)

       19.      As Defendant asserts neither that Plaintiff has brought this lawsuit in bad faith

nor for purposes of harassment, and does not assert any other basis for its request, its request for

attorney fees is thus unfounded and should be stricken.

       WHEREFORE, Plaintiff prays for the following:

               a)      That Defendant’s Second, Third, Fourth, Fifth, and Sixth Affirmative
                       Defenses be stricken, along with Defendant’s request for attorney fees;

               b)      For any other and further relief this Court deems just.



                                              Respectfully submitted,

                                              Mario Kris Kasalo,

                                              By: /s/ Mario Kris Kasalo
                                              Attorney for Plaintiff




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                                CERTIFICATE OF SERVICE

       I, Mario Kris Kasalo, an attorney, certify that I shall cause to be served a copy of

PLAINTIFF’S REPLY TO DEFENDANT’S RESPONSE TO MOTION TO STRIKE

PORTIONS OF DEFENDANT HEALTHCARE REVENUE RECOVERY GROUP, LLC’S

ANSWER AND AFFIRMATIVE DEFENSES in this case that will be served via CM/ECF on

November 4, 2020 to all attorneys that have appeared herein.



                                              By: /s/ Mario Kris Kasalo
                                              Attorney for Plaintiff




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